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 1   [Parties and Counsel Listed on Signature Pages]
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 7
                                    IN THE UNITED STATES DISTRICT COURT
 8                                FOR THE NORTHERN DISTRICT OF CALIFORNIA

 9                                                              MDL No. 3047
      IN RE: SOCIAL MEDIA ADOLESCENT
10
      ADDICTION/PERSONAL INJURY PRODUCTS                        Case No. 4:22-md-03047-YGR (PHK)
11    LIABILITY LITIGATION
                                                                JOINT STIPULATION AND
12    This Document Relates To:                                 [PROPOSED] ORDER RE FILING
                                                                PUBLIC VERSION OF ORDER RE
13    Leslie and Jessica Smith                                  PRIVILEGE ASSERTION RE TWO
                                                                DOCUMENTS CLAWED BACK BY
14    Member Case No.: 4:23-CV-05632                            PLAINTIFF JESSICA SMITH
15
                                                                Re: ECF No. 1838
16
                                                                Judge: Hon. Yvonne Gonzalez Rogers
17
                                                                Magistrate Judge: Hon. Peter H. Kang
18

19
                 Pursuant to the Court’s April 4, 2025 Order Re Privilege Assertion Re Two Documents Clawed
20
     Back by Plaintiff Jessica Smith (“Order”) (ECF No. 1838), the Parties, through their undersigned
21
     counsel, hereby stipulate and agree to the public filing of the Order with the following proposed
22
     redactions:
23               •   Redact quote at page 5, line 12.
24               •   Redact quote at page 5, line 14.
25               •   Redact quote at page 5, line 15.

26               •   Redact quote at page 5, line 16.
                 •   Redact quote at page 5, line 21.
27
                 •   Redact quote at page 5, line 23.
28
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                                                                  STIPULATION RE FILING OF SEALED ORDER
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 1               •   Redact quote at page 5, line 23.
 2               •   Redact document description at page 8, line 14.

 3               •   Redact quote at page 10, line 28.
                 •   Redact quote at page 11, line 1.
 4

 5               For all redactions other than the redacted quote at page 11, Defendants agree to the proposed

 6   redactions for the limited purpose of this Order and only to the extent they refer to information or

 7   deposition testimony that has been marked confidential before bellwether trial selection. Also for all

 8   redactions other than the redacted quote at page 11, Defendants reserve all rights to challenge the

 9   confidentiality or claims of privilege of the redacted information and deposition testimony after

10   bellwether trial selection.

11               Pursuant to the Order, the proposed redacted version of the Order is attached as Exhibit A.

12               IT IS SO STIPULATED AND AGREED.

13   Respectfully submitted,

14   DATED: May 2, 2025                                  By: /s/ Lexi J. Hazam

15                                                        LEXI J. HAZAM
                                                          LIEFF CABRASER HEIMANN &
16                                                        BERNSTEIN, LLP
                                                          275 BATTERY STREET, 29TH FLOOR
17                                                        SAN FRANCISCO, CA 94111-3339
18                                                        Telephone: 415-956-1000
                                                          lhazam@lchb.com
19
                                                          PREVIN WARREN
20                                                        MOTLEY RICE LLC
                                                          401 9th Street NW Suite 630
21
                                                          Washington DC 20004
22                                                        T: 202-386-9610
                                                          pwarren@motleyrice.com
23
                                                          Co-Lead Counsel
24
                                                          CHRISTOPHER A. SEEGER
25
                                                          SEEGER WEISS, LLP
26                                                        55 CHALLENGER ROAD, 6TH FLOOR
                                                          RIDGEFIELD PARK, NJ 07660
27                                                        Telephone: 973-639-9100
                                                          Facsimile: 973-679-8656
28
                                                              2
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 1                                         cseeger@seegerweiss.com
 2                                         Counsel to Co-Lead Counsel
 3

 4                                         JENNIE LEE ANDERSON
                                           ANDRUS ANDERSON, LLP
 5                                         155 MONTGOMERY STREET, SUITE 900
                                           SAN FRANCISCO, CA 94104
 6                                         Telephone: 415-986-1400
 7                                         jennie@andrusanderson.com

 8                                         Liaison Counsel

 9                                         MATTHEW BERGMAN
                                           GLENN DRAPER
10
                                           SOCIAL MEDIA VICTIMS LAW CENTER
11                                         821 SECOND AVENUE, SUITE 2100
                                           SEATTLE, WA 98104
12                                         Telephone: 206-741-4862
                                           matt@socialmediavictims.org
13                                         glenn@socialmediavictims.org
14
                                           JAMES J. BILSBORROW
15                                         WEITZ & LUXENBERG, PC
                                           700 BROADWAY
16                                         NEW YORK, NY 10003
                                           Telephone: 212-558-5500
17                                         Facsimile: 212-344-5461
                                           jbilsborrow@weitzlux.com
18

19                                         PAIGE BOLDT
                                           WATTS GUERRA LLP
20                                         4 Dominion Drive, Bldg. 3, Suite 100
                                           San Antonio, TX 78257
21                                         T: 210-448-0500
22                                         PBoldt@WattsGuerra.com

23                                         THOMAS P. CARTMELL
                                           WAGSTAFF & CARTMELL LLP
24                                         4740 Grand Avenue, Suite 300
                                           Kansas City, MO 64112
25                                         T: 816-701 1100
26                                         tcartmell@wcllp.com

27                                         JAYNE CONROY
                                           SIMMONS HANLY CONROY, LLC
28
                                              3
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 1                                         112 MADISON AVE, 7TH FLOOR
                                           NEW YORK, NY 10016
 2                                         Telephone: 917-882-5522
 3                                         jconroy@simmonsfirm.com
                                           CARRIE GOLDBERG
 4                                         C.A. GOLDBERG, PLLC
                                           16 Court St.
 5                                         Brooklyn, NY 11241
                                           T: (646) 666-8908
 6                                         carrie@cagoldberglaw.com
 7
                                           SIN-TING MARY LIU
 8                                         AYLSTOCK WITKIN KREIS &
                                           OVERHOLTZ, PLLC
 9                                         17 EAST MAIN STREET, SUITE 200
                                           PENSACOLA, FL 32502
10
                                           Telephone: 510-698-9566
11                                         mliu@awkolaw.com

12                                         ANDRE MURA
                                           GIBBS LAW GROUP, LLP
13                                         1111 BROADWAY, SUITE 2100
                                           OAKLAND, CA 94607
14
                                           Telephone: 510-350-9717
15                                         amm@classlawgroup.com

16                                         EMMIE PAULOS
                                           LEVIN PAPANTONIO RAFFERTY
17                                         316 SOUTH BAYLEN STREET, SUITE 600
                                           PENSACOLA, FL 32502
18
                                           Telephone: 850-435-7107
19                                         epaulos@levinlaw.com

20                                         ROLAND TELLIS
                                           DAVID FERNANDES
21                                         BARON & BUDD, P.C.
22                                         15910 Ventura Boulevard, Suite 1600
                                           Encino, CA 91436
23                                         Telephone: (818) 839-2333
                                           Facsimile: (818) 986-9698
24                                         rtellis@baronbudd.com
                                           dfernandes@baronbudd.com
25

26                                         ALEXANDRA WALSH
                                           WALSH LAW
27                                         1050 Connecticut Ave, NW, Suite 500
                                           Washington D.C. 20036
28
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 1                                         T: 202-780-3014
                                           awalsh@alexwalshlaw.com
 2

 3                                         MICHAEL M. WEINKOWITZ
                                           LEVIN SEDRAN & BERMAN, LLP
 4                                         510 WALNUT STREET
                                           SUITE 500
 5                                         PHILADELPHIA, PA 19106
                                           Telephone: 215-592-1500
 6                                         mweinkowitz@lfsbalw.com
 7
                                           DIANDRA “FU” DEBROSSE ZIMMERMANN
 8                                         DICELLO LEVITT
                                           505 20th St North
 9                                         Suite 1500
                                           Birmingham, Alabama 35203
10
                                           Telephone: 205.855.5700
11                                         fu@dicellolevitt.com

12                                         HILLARY NAPPI
                                           HACH & ROSE LLP
13                                         112 Madison Avenue, 10th Floor
                                           New York, New York 10016
14
                                           Tel: 212.213.8311
15                                         hnappi@hrsclaw.com

16                                         JAMES MARSH
                                           MARSH LAW FIRM PLLC
17                                         31 HUDSON YARDS, 11TH FLOOR
                                           NEW YORK, NY 10001-2170
18
                                           Telephone: 212-372-3030
19                                         jamesmarsh@marshlaw.com

20                                         Attorneys for Individual Plaintiffs
21

22

23

24

25

26

27

28
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 1                                         MORGAN, LEWIS & BOCKIUS LLP
                                           By: /s/ Brian Ercole
 2                                         Brian Ercole (pro hac vice)
 3                                         600 Brickell Avenue, Suite 1600
                                           Miami, FL 33131-3075
 4                                         Tel.: 305.415.3416
                                           brian.ercole@morganlewis.com
 5
                                           Jesse S. Krompier, SBN 318760
 6                                         300 South Grand Avenue, 22nd Floor
 7                                         Los Angeles, CA 90071-3132
                                           Tel.: 213.612.7238
 8                                         jesse.krompier@morganlewis.com

 9                                         WILSON SONSINI GOODRICH & ROSATI
                                           Brian M. Willen
10
                                           WILSON SONSINI GOODRICH & ROSATI
11                                         1301 Avenue of the Americas, 40th Floor
                                           New York, New York 10019
12                                         Telephone: (212) 999-5800
                                           Facsimile: (212) 999-5899
13                                         Email: bwillen@wsgr.com
14
                                           Lauren Gallo White
15                                         Samantha A. Machock
                                           WILSON SONSINI GOODRICH & ROSATI
16                                         One Market Plaza, Spear Tower, Suite 3300
                                           San Francisco, CA 94105
17                                         Telephone: (415) 947-2000
                                           Facsimile: (415) 947-2099
18
                                           Email: lwhite@wsgr.com
19                                         Email: smachock@wsgr.com

20                                         Christopher Chiou
                                           WILSON SONSINI GOODRICH & ROSATI
21                                         633 West Fifth Street
22                                         Los Angeles, CA 90071-2048
                                           Telephone: (323) 210-2900
23                                         Facsimile: (866) 974-7329
                                           Email: cchiou@wsgr.com
24
                                           WILLIAMS & CONNOLLY LLP
25                                         Joseph G. Petrosinelli
26                                         jpetrosinelli@wc.com
                                           Ashley W. Hardin
27                                         ahardin@wc.com
                                           680 Maine Avenue, SW
28
                                              6
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 1                                         Washington, DC 20024
                                           Telephone.: 202-434-5000
 2                                         Fax: 202-434-5029
 3
                                           Attorneys for Defendants YouTube, LLC, Google LLC,
 4                                         and Alphabet Inc.

 5
                                           COVINGTON & BURLING LLP
 6                                         By: /s/ Ashley M. Simonsen
                                           Ashley M. Simonsen, SBN 275203
 7
                                           COVINGTON & BURLING LLP
 8                                         1999 Avenue of the Stars
                                           Los Angeles, CA 90067
 9                                         Telephone: (424) 332-4800
                                           Facsimile: + 1 (424) 332-4749
10                                         Email: asimonsen@cov.com
11
                                           Phyllis A. Jones, pro hac vice
12                                         Paul W. Schmidt, pro hac vice
                                           COVINGTON & BURLING LLP
13                                         One City Center
                                           850 Tenth Street, NW
14                                         Washington, DC 20001-4956
15                                         Telephone: + 1 (202) 662-6000
                                           Facsimile: + 1 (202) 662-6291
16                                         Email: pajones@cov.com

17                                         Attorney for Defendants Meta Platforms, Inc.
                                           f/k/a Facebook, Inc.; Facebook Holdings,
18                                         LLC; Facebook Operations, LLC; Facebook
19                                         Payments, Inc.; Facebook Technologies, LLC;
                                           Instagram, LLC; Siculus, Inc.; and Mark Elliot
20                                         Zuckerberg

21
                                           FAEGRE DRINKER LLP
22                                         By: /s/ Andrea Roberts Pierson
23                                         Andrea Roberts Pierson, pro hac vice
                                           Amy Fiterman, pro hac vice
24                                         FAEGRE DRINKER LLP
                                           300 N. Meridian Street, Suite 2500
25                                         Indianapolis, IN 46204
                                           Telephone: + 1 (317) 237-0300
26                                         Facsimile: + 1 (317) 237-1000
27                                         Email: andrea.pierson@faegredrinker.com
                                           Email: amy.fiterman @faegredrinker.com
28
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 1
                                           GEOFFREY DRAKE, pro hac vice
 2                                         David Mattern, pro ha vice
 3                                         KING & SPALDING LLP
                                           1180 Peachtree Street, NE, Suite 1600
 4                                         Atlanta, GA 30309
                                           Tel.: 404-572-4600
 5                                         Email: gdrake@kslaw.com
                                           Email: dmattern@kslaw.com
 6
                                           Attorneys for Defendants TikTok Inc. and ByteDance
 7
                                           Inc.
 8
                                           MUNGER, TOLLES & OLSEN LLP
 9                                         By: /s/ Jonathan H. Blavin
                                           Jonathan H. Blavin, SBN 230269
10                                         MUNGER, TOLLES & OLSON LLP
11                                         560 Mission Street, 27th Floor
                                           San Francisco, CA 94105-3089
12                                         Telephone: (415) 512-4000
                                           Facsimile: (415) 512-4077
13                                         Email: jonathan.blavin@mto.com
14                                         Rose L. Ehler (SBN 29652)
15                                         Victoria A. Degtyareva (SBN 284199)
                                           Laura M. Lopez, (SBN 313450)
16                                         Ariel T. Teshuva (SBN 324238)
                                           MUNGER, TOLLES & OLSON LLP
17                                         350 South Grand Avenue, 50th Floor
                                           Los Angeles, CA 90071-3426
18                                         Telephone: (213) 683-9100
19                                         Facsimile: (213) 687-3702
                                           Email: rose.ehler@mto.com
20                                         Email: victoria.degtyareva@mto.com
                                           Email: Ariel.Teshuva@mto.com
21
                                           Lauren A. Bell (pro hac vice forthcoming)
22                                         MUNGER, TOLLES & OLSON LLP
                                           601 Massachusetts Ave., NW St.,
23                                         Suite 500 E
                                           Washington, D.C. 20001-5369
24                                         Telephone: (202) 220-1100
                                           Facsimile: (202) 220-2300
25                                         Email: lauren.bell@mto.com

26                                         Attorneys for Defendant Snap Inc.

27

28
                                              8
                                                       STIPULATION RE FILING OF SEALED ORDER
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 1                                                   ATTESTATION
 2
                 I, Lexi J. Hazam, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to the
 3
     filing of this document has been obtained from each signatory hereto.
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 5
     Dated: May 2, 2025
 6                                                        By: /s/ Lexi J. Hazam
                                                               Lexi J. Hazam
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